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                                 UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF RHODE ISLAND

  Albert L. Gray, Administrator, et al,
                       Plaintiffs

                   vs.                                               C.A. No. 04-3l2-L

  Jeffrey Derderian, et al.,
                         Defendants

  Estate of Jude B. Henault, et al,
                        Plaintiffs,

              vs.                                                     C.A. No. 03-483-L
  American Foam Corporation, et al,
                     Defendants.

      POLYURETHANE FOAM DEFENDANTS’ MOTION TO APPROVE SETTLEMENT
                 PURSUANT TO R.I. GEN. LAW §§10-6-7, 10-6-8

          COME NOW the Polyurethane Foam Defendants1 and move this Court for an order

  approving the Polyurethane Foam Defendants’ gross settlement with Plaintiffs in the amount of

  $30,000,000 (thirty-million dollars) as a “good-faith settlement” in accordance with R.LG.L.

  §§ l0-6-7, 10-6-8, so as to extinguish all potential contribution claims by joint tortfeasors.

          The Polyurethane Foam Defendants further request that the order approving the gross

  settlement be without prejudice to their ability to address the Court’s review of the individual

  settlements allotted to the minor plaintiffs under Special Master McGovern’s Plan of Distribution

  and/or appointments of guardians ad litem and/or a special master in connection therewith.

          In support of their Motion, the Polyurethane Foam Defendants submit the accompanying

  memorandum of law and affidavit of George E. Wolf.


  1
      For purposes of this Motion and accompanying Memorandum of Law, the phrase “Polyurethane Foam
      Defendants” refers to Leggett & Platt, Incorporated; L&P Financial Services Co.; General Foam Corporation;
      GFC Foam, LLC; Foamex LP; Foamex International Inc.; FMXI, Inc.; PMC, Inc.; PMC Global, Inc.; Wm. T.
      Burnett & Co., Incorporated; Wm. T. Burnett Management Inc.; Wm. T. Burnett & Co.; Wm. T. Burnett
      Operating, LLP; FFNC, Inc.; and their respective insurers, collectively.

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                                       And L&P FINANCIAL SERVICES CO.
                                       By their attorneys,

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                                       FOAM, LLC, PMC, INC., PMC GLOBAL, INC.,
                                       FOAMEX, L.P., FOAMEX INTERNATIONAL,
                                       INC., AND FMXI, INC.
                                       By their attorneys,

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                                      DEFENDANTS
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                                      WM. T. BURNETT MANAGEMENT INC.,
                                      WM. T. BURNETT & CO., WM. T. BURNETT
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                                      By its attorneys,

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                                          CERTIFICATION

  I certify that on the 30th day of March, 2009, I caused a copy of the foregoing pleading to be
  served on counsel of record as follows:

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